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CEM/RS: USAQ# 2025R00226
PEB 06/24/25

‘ IN THE UNITED STATES DISTRICT COURT
ya FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINAL NO. 1:25-cr-00188-SAG
Vv. (Sex Trafficking of a Child, 18 U.S.C.
1591(a), (b)(1); Sexual Exploitation of a
ASHLEY NICOLE GRAYBEAL, Child, 18 U.S.C. § 2251(a); Distribution of
Child Pornography, 18 U.S.C. § 2252(a)(2);
Defendant. Possession of Child Pornography, 18 U.S.C.
§ 2252A(a)(5)(B); Aiding & Abetting, 18
U.S.C. 2; Forfeiture, 18 U.S.C. §§ 1594, 2253)

INDICTMENT

COUNT ONE
(Sex Trafficking of a Child)

The Grand Jury for the District of Maryland charges that:

General Allegations

At time relevant to the Indictment:
1. Defendant ASHLEY NICOLE GRAYBEAL (“GRAYBEAL”) was bom in
1999, and resided in Aberdeen, Maryland.
2. Minor Victim 1 was born in 2018 and was approximately six years old at the time
of the offenses against him.

3. Minor Victim 2 was born in 2020 and was approximately four years old at the time
of the offenses against her.

The Charge

4, Beginning on or about January 6, 2025, and continuing through February 16, 2025,

in the District of Maryland, the defendant,

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ASHLEY NICOLE GRAYBEAL,
did knowingly, in and affecting interstate and foreign commerce, recruit, entice, harbor, transport,
provide, obtain, advertise, maintain, patronize or solicit by any means a person, to wit Minor
Victim 1, knowing and in reckless disregard of the fact that Minor Victim | had not attained the

age of fourteen years and would be caused to engage in a commercial sex act.

18 U.S.C. §§ 1591 (a), (b)(1)
18 U.S.C. §2

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COUNT TWO
(Sex Trafficking of a Child)

The Grand J ury for the District of Maryland further charges that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or between the dates of January 6, 2025, and February 23, 2025, in the District
of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly recruit, entice, harbor, transport, provide, obtain, advertise, maintain, patronize or
solicit by any means a person, to wit: Minor Victim 2, in or affecting interstate commerce, knowing
and in reckless disregard of the fact that Minor Victim 2 had not attained the age of fourteen years

and would be caused to engage in a commercial sex act.

18 U.S.C. § 1591 (a), (b)(1)
18 US.C. §2

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COUNT THREE
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charge that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 8, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly attempt to and did employ, use, persuade, induce, entice, and coerce Minor Victim
1 to engage in sexually explicit conduct as defined in Title 18, United States Code, Section
2256(2), for the purpose of producing visual depiction of such conduct, and said visual depiction
was produced using materials that were mailed, shipped, and transported in interstate and foreign
commerce by any means, including by computer, and such a visual depiction had actually been
transported and transmitted using any means and facility of interstate and foreign commerce, and
in and affecting interstate and foreign commerce, that is, an image file titled and partially titled
*£05{677.jpg” that depicted both the Defendant and Minor Victim 2 naked with Minor Victim 2’s

exposed pubic area.

18 U.S.C. § 2251(a)
18 U.S.C. § 2

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COUNT FOUR
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 12, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly attempt to and did employ, use, persuade, induce, entice, and coerce Minor Victim
1 to engage in sexually explicit conduct as defined in Title 18, United States Code, Section
2256(2), for the purpose of producing visual depiction of such conduct, and said visual depiction
was produced using materials that were mailed, shipped, and transported in interstate and foreign
commerce by any means, including by computer, and such a visual depiction had actually been
transported and transmitted using any means and facility of interstate and foreign commerce, and
in and affecting interstate and foreign commerce, that is, an image file titled and partially titled
“14c7alc.jpg” that depicted both the Defendant and Minor Victim 1 naked with Minor Victim 1’s
exposed genitals.

18 U.S.C. § 2251 (a)
18 U.S.C. § 2

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COUNT FIVE
(Sexual Exploitation of a Child)

The Grand Jury for the District of Maryland further charges that:
J. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 12, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly attempt to and did employ, use, persuade, induce, entice, and coerce Minor Victim
1 to engage in sexually explicit conduct as defined in Title 18, United States Code, Section
2256(2), for the purpose of producing visual depiction of such conduct, and said visual depiction
was produced using materials that were mailed, shipped, and transported in interstate and foreign
commerce by any means, including by computer, and such a visual depiction had actually been
transported and transmitted using any means and facility of interstate and foreign commerce, and
in and affecting interstate and foreign commerce, that is, an image file titled and partially titled
“294 1d20.jpg” that depicted both the Minor Victim 1 and Minor Victim 2 naked with their genitals
exposed.

18 U.S.C. § 2251(a)
18 U.S.C. §2

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COUNT SIX
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 8, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly distribute any visual depicting using any means and facility of interstate and foreign
commerce, that had been mailed, shipped, and transported in and affecting interstate and foreign
commerce, and which contained materials which had been so mailed, shipped, and transported by
any means including by computer, the production of which involved the use of a minor engaged
in sexually explicit conduct, as defined in Title 18 United States Code Section 2256(2), and such
depicting being of such conduct, that is GRAYBEAL used her Kik internet-based account
“ashleygraybeal25” to distribute an image file titled and partially titled “f95£677.jpg” that depicted

the Defendant and Minor Victim 2 naked with Minor Victim 2’s exposed pubic area.

18 U.S.C. §§ 2252(a)(2) and 2256
18 U.S.C. § 2

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COUNT SEVEN
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 12, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly distribute any visual depicting using any means and facility of interstate and foreign
commerce, that had been mailed, shipped, and transported in and affecting interstate and foreign
commerce, and which contained materials which had been so mailed, shipped, and transported by
any means including by computer, the production of which involved the use of a minor engaged
in sexually explicit conduct, as defined in Title 18 United States Code Section 2256(2), and such
depicting being of such conduct, that is GRAYBEAL used her Kik internet-based account
“ashleygraybeal25” to distribute an image file titled and partially titled “14c7alc.jpg” that

depicted both the Defendant and Minor Victim 1 naked with Minor Victim 1’s exposed genitals.

18 U.S.C. §§ 2252(a)(2) and 2256
18 U.S.C. § 2

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COUNT EIGHT
(Distribution of Child Pornography)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs One, Two, and Three of the General Allegations of Count One are
incorporated here.

2. On or about February 12, 2025, in the District of Maryland, the defendant,

ASHLEY NICOLE GRAYBEAL,

did knowingly distribute any visual depicting using any means and facility of interstate and foreign
commerce, that had been mailed, shipped, and transported in and affecting interstate and foreign
commerce, and which contained materials which had been so mailed, shipped, and transported by
any means including by computer, the production of which involved the use of minors engaged
in sexually explicit conduct, as defined in Title 18 United States Code Section 2256(2), and such
depicting being of such conduct, that is GRAYBEAL used her Kik internet-based account
“ashleygraybeal25” to distribute an image file titled and partially titled “fe941d20.jpg” that

depicted both the Minor Victim ] and Minor Victim 2 naked with their genitals exposed.

18 U.S.C. §§ 2252(a)(2) and 2256
18 U.S.C. §2

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COUNT NINE
(Possession of Child Pornography)

The Grand Jury for the District of Maryland further charges that:
On or about March 4, 2025, in the District of Maryland, the defendant,
ASHLEY NICHOLE GRAYBEAL,

knowingly possessed any material that contained an image of child pomography, as defined in
Title 18, United States Code, Section 2256(8), which image had been shipped and transported
using any means or facility of interstate and foreign commerce and in and effecting interstate and
foreign commerce by any means, including by computer, and that was produced using materials
that had been mailed, shipped and transported in and affecting interstate and foreign commerce by
any means, including by computer, to wit: a Kik account, “ashleygraybeal25” which contained

one or more visual depictions of prepubescent minors engaged in sexually explicit conduct.

18 U.S.C. §§ 2252A(a)(5)\(B) & 2256

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1, Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the
defendant that the United States will seek forfeiture as part of any sentence in accordance with 18
U.S.C. §§ 1594 and 2253, 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the
defendant’s convictions on any of the offense charged in Counts One through Nine of this

Indictment.

Sex Trafficking of a Child Forfeiture

2. Upon conviction of the.alleged offenses set forth in Counts One and Two of this
Indictment, the defendant,
ASHLEY NICOLE GRAYBEAL,
shall forfeit to the United States, pursuant to 18 U.S.C, § 1594(d)}(1)-(2):

a, such person’s interest in any property, real or personal, that was involved in, used,
or intended to be used to commit or to facilitate the commission of such violation, and any property
traceable to such property; and

b. any property, real or personal, constituting or derived from, any proceeds that such
person obtained, directly or indirectly, as a result of such violation, or any property traceable to
such property.

Sexual Exploitation of 2 Child Forfeiture

3. Upon conviction of any of the alleged offenses set forth in Counts Three through

Nine of this Indictment, the defendant,
ASHLEY NICOLE GRAYBEAL,

shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a):

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a. any visual depiction described in Title 18, United States Code, Sections, 2251,
2251A, 2252, or 2252A, 2252B, or 2260 or any book, magazine, periodical, film, videotape, or
other matter which contains any such visual depiction, which was produced, transported, mailed,
shipped, received, or possessed in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from such offense; and

Cc. any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense or any property traceable to such property.

Property Subject to Forfeiture

4, The property to be forfeited includes, but is not limited to, the following items
seized from the defendant’s residence in Aberdeen, Maryland, on or about February 26, 2025:
a. Blue Samsung Galaxy A035 cell phone;
b. Pink Samsung Galaxy A15 cell phone; and
c. Black Motorola cell phone.

Substitute Assets

5. If any of the property described above, as a result of any act or omission of the
defendant:
d. cannot be located upon the exercise of due diligence;
e. has been transferred or sold to, or deposited with, a third party;
f. has been placed beyond the jurisdiction of the Court;
g. has been substantially diminished in value; or
h. has been commingled with other property that cannot be subdivided without
difficulty;

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the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.
§ 853(p), as incorporated by 18 U.S.C. § 2253(b) and 28 U.S.C. § 2461(c).

18 U.S.C. § 2253

18 U.S.C. § 1594
21 U.S.C. § 853(p)
28 U.S.C. § 2461(c)

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Kelly O. Hayes go
United States Attortiey

A TRUE BILL:

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~ FORERERSON 77 —— Date

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